             Case 4:11-cr-00129-JM Document 354 Filed 12/12/11 Page 1 of 1                         FILED
                                                                                                 U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT ARKANSAS


                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF ARKANSAS JAMES
                                     WESTERN DIVISION          By:                             vif'V ' y V
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                                                                                                                 EPCLERK

UNITED STATES OF AMERICA

                                         Case No. 4:11CR00129-JMM

MICHAEL HIMSTEDT_ _                                                                          DEFENDANT

                          WAIVER OF APPEARANCE FOR ARRAIGNMENT
                             AND ENTRY OF PLEA OF NOT GUILTY
                   (Pursuant to Rule 10 and 43 of the Federal Rules of Criminal Procedure)

        NOW CO.t<.ffiS Defendant in the above-referenced case who, along with his undersigned attorney,
hereby acknowledges the following:

1)        Defendant' has received a copy of the indictment, superseding indictment or misdemeanor
          information in this case. Defendant understands the nature and substance of the charges
          contained therein, the maximum penalties applicable thereto, and his Constitutional rights, after
          being advi~d of all ofthe above by his/her attorney.

2)        Defendant understands he has the right to appear personally with his attorney before a Judge for
          arraignment in open court on this accusation. Defendant further understands that, absent the
          present waiver, he will be so arraigned in open court.
                   .:.-
Defendant, having conferred with his attorney in this regard, hereby waives personal appearance with his
attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
information, and by this instruinent tenders a plea of "not guilty". The defendant understands that entry
by the Court of said plea for defendant will conclude the          ent · this case or all pufROSes

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          Date
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          Date
                    r:
                   dt;                     ORDER OF COURT


              The defendant's request to waive appearance at the arraignment is hereby APPROVED
              and a ,plea of not guilty is entered for the defendant effective this date.

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cc:       All Counse.l of Record
          U.S. Probation Office
          U.S. Marshal's Service
          Presiding Magistrate Judge
